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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION


 UNITED STATES OF AMERICA                       CASE NO. 6:20-CR-00284-05

 VERSUS                                         JUDGE JUNEAU

 JERRICK WILLIAMS (05)                          MAGISTRATE JUDGE CAROL B.
                                                WHITEHURST

                  REPORT AND RECOMMENDATION ON
   FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to Title 28, United States Code, Section 636(b), and with the written

 and oral consent of the defendant, this matter has been referred by the District Court

 for administration of guilty plea and allocution under Rule 11 of the Federal Rules

 of Criminal Procedure.

       This cause came before the undersigned United States Magistrate Judge for a

 change of plea hearing and allocution of the defendant, Jerrick Williams, on

 September 9, 2021. The defendant was present with his counsel, Frank Granger.

       After the hearing, and for the reasons orally assigned, it is the finding of the

 undersigned that the defendant is fully competent, that his plea of guilty is knowing

 and voluntary, and that his guilty plea to Count 1 is fully supported by a written

 factual basis for each of the essential elements of the offense.

       Additionally, the defendant voluntarily waived the fourteen-day objection

 period that would otherwise be available under 28 U.S.C. § 636. (Rec. Doc. 235).
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       Therefore, the undersigned United States Magistrate Judge recommends that

 the District Court ACCEPT the guilty plea of the defendant, Jerrick Williams, in

 accordance with the terms of the plea agreement filed in the record of these

 proceedings, and that Jerrick Williams be finally adjudged guilty of the offense

 charged in Count 1.

       THUS DONE AND SIGNED in chambers, at Lafayette, Louisiana, on

 October 7, 2021.



                                     ____________________________________
                                     CAROL B. WHITEHURST
                                     UNITED STATES MAGISTRATE JUDGE
